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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 UNITED STATES OF AMERICA

                        v.
                                                     Case No. 22-CR-00612
 EDWARD CONSTANTINESCU,
     Defendant.




                   MOTION TO MODIFY CONDITIONS OF RELEASE

       COMES NOW the United States of America, by and through Alamdar S. Hamdani, United

States Attorney, and Thomas H. Carter, Assistant United States Attorney, for the Southern District

of Texas, and moves this Honorable Court to Modify the Conditions of Release for named

defendant, EDWARD CONSTATINESCU.



                                      I.      History

       On Dec. 7, 2022, Defendant CONSTANTINESCU was indicted in the Southern District

of Texas for violations 18 U.S.C. Sec. 1348 (Securities and Commodities Fraud), 18 U.S.C. Sec.

1349 (Conspiracy to Commit Fraud), and 18 U.S.C. Sec. 1957 (Engaging in Monetary

Transactions in Property Derived from Specified Unlawful Activity).          He was subsequently

arrested on those charges on December 13, 2022 in Austin, Texas, which is in the Western District

of Texas.

       At Defendant CONSTANTINESCU’s initial appearance on December 13, 2022, the

Magistrate’s Court in the Western District of Texas set conditions for his release in an order under

cause number 22-mj-996. These conditions included standard conditions along with stand-alone

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GPS monitoring, prohibitions on contact with witnesses and co-defendants, and prohibitions on

social media usage.    Additionally, a report date was set in the Southern District of Texas on

December 28, 2022.     Notably, the conditions of release as set by the Western District of Texas

did not include the relinquishment of firearms within the defendant’s residence or any type of

restriction on the dispensation of the defendant’s significant assets. Further, it is unclear what

manner of surety the defendant is required to post to assure his presence in court.



                                      II.     Request

       The United States asks that this Court modify Defendant’s CONSTATINESCU’s

conditions of release in the following manners:

       -   Prohibition of the possession of any and all firearms, destructive devices, or other

           weapon, as is standard in the Southern District of Texas. Defendant’s prior social

           media postings indicate that the Defendant possesses a significant number of

           sophisticated firearms in his residence.   It is believed that the Defendant currently

           has access to those weapons and such a condition is normally standard in this District.

       -   A restriction on the Defendant’s ability to dispose of assets that may be derived from

           criminal conduct. These assets include, but are not limited to, brokerage accounts,

           bank accounts, and vehicles, including a 2018 Black Rolls-Royce Dawn with VIN:

           SCA666D50JU107584, a 2022 White Rolls-Royce Cullinan with VIN:

           SLATV4C06NU209090, a 2021 Black Lamborghini Urus with VIN:

           ZPBUA1ZL5MLA13745, and a 2020 Silver Mercedes-Benz G with VIN:

           W1NYC7HJ6LX363844. On December 1#, 2022, the Court imposed a similar

           condition as to Defendants Matlock and Knight at their initial appearances.


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       -   A further restriction on the Defendant’s ability to use social media to include a

           specific admonition to not “post” or communicate about specific stocks or trades. On

           December 14, 2022, the Court imposed a similar condition as to Defendants Matlock

           and Knight at their initial appearances.

       The United States believes that these conditions are necessary to ensure that the

Defendant does not pose a threat to himself or others and will ensure the proper dispensation of

justice in this case. Further, these proposed modifications to the Defendant’s conditions of

release were included in several of the Defendant’s co-defendants’ conditions, and such

modifications would bring Defendant Constantinescu into parity with others similarly situated.

       WHEREFORE, the Government requests that this Court issue an ORDER to set a date

for a hearing on this motion as soon as practicable.


                                      Respectfully submitted,

                                      ALAMDAR HAMDANI
                                      United States Attorney,
                                      Southern District of Texas

                                      By:     s/ Thomas H. Carter
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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
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v.                                              Case No. 22-CR-00612

EDWARD CONSTANTINESCU,
     Defendant.


                                       ORDER

      HAVING CONSIDERED the Government's Motion to Modify Conditions of Release as

to Defendant Edward Constantinescu, the COURT ORDERS a hearing on the matter set for

December _________, 2022 at ______AM/PM and for all parties to attend.



       Signed at Houston, Texas this the _____ day of _________________________, 2022.

                                  ____________________________________________
                                  THE HONORABLE CHRISTINA BRYAN
                                  UNITED STATES MAGISTRATE JUDGE




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